CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Turner000017

2097 |Phone a Timestamp Direction
Al 9 Incoming

Body:
This is good. Thanks

Source Extraction: Advanced Logical

Message Type:

Inbox

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Turner000018

eae : Direction:

6 Outgoir

Ball Cathy * PM(UTC-4) Body.
Cathy,

| will email you the crime stats you asked for. Don't be alarmed
by the number

All incidents that were reported are listed. Many are not criminal
acts.

We can reduce the distance from 1 mile to a lesser range if you
desire

You can also drill down lo list only specific crimes as well JA
Let me know If we neec to provide additional information
Kari
Participants:
Participant Delivered Read Played
+1 a
Cathy

Source Extraction: Advanced Logical

Message Type:
SMS

Folder:

Sent

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Turner000019
2103 |Phone i Timestamp: i Direction

. Outgoing
Ball Cathy PM(UTC-4) Body:
Yes ma'am

Participants:
Participant Delivered Read Played JY
+ 6 ai

Cathy

Source Extraction: Advanced Logical

Message Type:
SMS

Folder:

Sent

Timestamp: Direction:
. 4/6/2022 3:15:41 incoming
Ball Cathy PM(UTC-4) Body:

Any chance you could run me a crime report for East Main Sireet
#5 In downtown. | am looking at buying It
Source Extraction: Advanced Logical JY

Message Type:
SMS

SMSC:
+19039321410
Folder:

Inbox

